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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.

 IT IS SO ORDERED.




 Dated: June 25, 2020




                             UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON


 In re: TAGNETICS INC.,
                                                  Case No.   19‐30822

                                                  Judge Humphrey
                                                  Chapter 7



           Order Scheduling Evidentiary Hearing to Show Cause Why Tagnetics Inc.
           Should Not Be Held in Civil Contempt of Court Orders (Docs. 119 and 169)

       In accordance with the court’s colloquy with the parties during the June 25, 2020
 prehearing conference, with the agreement of the parties, IT IS ORDERED:

                                            Hearing

        An evidentiary hearing shall be held on July 30, 2020 at 10:00 a.m. (Eastern Time) to
 show cause why Tagnetics Inc. should not be held in further civil contempt of the Order
 Granting in Part Tagnetics’ Motion to Enforce Settlement Agreement (Doc. 101) and Ordering
 Other Matters (doc. 119) and contempt of the Order Granting Petitioning Creditors’ Motion
 for Contempt (Doc. 145), Determining Additional Interest as a Remedy to Enforce Compliance,
 and Ordering Other Matters (doc. 169). Further, if the court finds Tagnetics is in contempt,
 the court may, sua sponte, exercise any further appropriate remedy to address Tagnetics’
 contempt of an order of this court.
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        The hearing will be conducted simultaneously by phone and video conferencing
 technology. At this time, the court intends to utilize both AT&T Teleconferencing Services
 and MS Teams for the videoconferencing. For the safety of all parties, the court is not
 conducting in person hearings at this time due to the ongoing health emergency caused by
 the Coronavirus (COVID‐19). See General Order 35‐5. Detailed logistical information will be
 provided by the court prior to the scheduled hearing. In addition, the court may request
 that parties be available prior to the scheduled hearing to conduct testing of any
 teleconferencing and videoconferencing equipment.

        The court will not grant any continuances of the dates and time provided in this
 order absent a showing of extraordinary circumstances, including a bona fide emergency,
 irreparable injury or harm, or manifest injustice.

                                         Appearances

       Each of the Petitioning Creditors shall participate in the hearing telephonically.
 Counsel for Tagnetics and the Chief Executive Officer, or another senior officer of
 Tagnetics approved by the court, shall appear telephonically and via videoconferencing.

                  Filing of Witness Lists, Exhibit Lists and Copies of Exhibits
                            and Presentation of Exhibits at Hearing

        All counsel and pro se parties who wish to present witnesses or other evidence at an
 evidentiary hearing shall complete the appropriate Local Bankruptcy Rule Form 7016‐1
 (Attachment B) Exhibit List(s). The Exhibit List(s), together with complete copies of all
 proposed exhibits which the Petitioning Creditors or Tagnetics may offer as exhibits
 individually and/or jointly, shall be filed with the court and exchanged with opposing
 counsel and pro se parties not later than July 23, 2020. Exhibits not timely exchanged may
 not be admitted at the hearing. If the Petitioning Creditors proceed on a pro se basis and
 they intend to call witnesses or introduce documents at the hearing as evidence, they or
 someone on their behalf must either bring their documents to the courthouse or mail their
 documents, by overnight or other expedited service, in time to ensure that their
 documents are received by the Clerk by July 23, 2020. If any documents intended to be
 introduced as evidence at the hearing are not filed with the court by July 23, 2020, the
 party seeking to introduce those documents as evidence may be precluded from using
 those documents as evidence at the hearing.

        The Clerk’s office is not presently open for filing at the counter. Pro se filers must
 submit filings either by mail or by bringing them to the court and placing them in the
 Clerk’s Office drop box just inside the main entrance. Unless otherwise ordered for cause
 shown, all filings received by mail will be file‐stamped and entered on the docket with the
 date they are received by the court being the filing date on the court’s docket. Attorneys
 must file filings through the court’s Case Management/Electronic Case Filing (CM/ECF)
 system.

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                                           Other Filings

        All parties who wish to have the court consider any hearing memoranda in support of
 their position(s) shall, not later than July 28, 2020, file with the court and exchange with
 other counsel and pro se parties such memoranda.

        IT IS SO ORDERED.

 Copies to: All Creditors and Parties in Interest, Plus

 Douglas S. Draper, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130
 Leslie A. Collins, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130




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